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                     UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS



STERLING SUFFOLK RACECOURSE, LLC,

                Plaintiff,

v.                                                No. 1:18-cv-11963 PBS

WYNN RESORTS, LTD; WYNN MA, LLC; STEPHEN         (Leave to File Granted 4/18/19)
WYNN; KIMMARIE SINATRA; MATTHEW
MADDOX; and FBT EVERETT REALTY, LLC,

                Defendants.




              REPLY IN SUPPORT OF STEPHEN WYNN’S
         MOTION TO DISMISS THE FIRST AMENDED COMPLAINT
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        Defendant Stephen Wynn respectfully submits this Reply in support of his Motion to

Dismiss the First Amended Complaint (“FAC”) (Dkt. 83).1 Plaintiff’s Opposition is nothing

more than an attempt to confuse the issues so that this frivolous lawsuit will proceed to

discovery. As set forth below, and in Mr. Wynn’s Memorandum in support of his Motion to

Dismiss (“Memo”) (Dkt. 84), the FAC fails to state the elements of a proper RICO cause of

action and fails to plead any predicate acts involving Mr. Wynn with specificity. Perhaps

recognizing these flaws, and despite that fact that Plaintiff has already amended the Complaint

once, the Opposition attempts to “amend” the FAC again through various claims that are not

actually pled in the FAC. This is, of course, improper. The Court should dismiss the FAC with

prejudice and not allow Plaintiff’s misuse of the RICO statute to continue.

           I.    The Alleged RICO “Enterprise” and “Person” Are Not Distinct – Count 2

        Plaintiff’s expansive reading of the Cedric Kushner decision is flawed. While the First

Circuit has not had occasion to address Kushner, other circuits have rejected attempts to expand

its narrow holding. In Kushner, the Supreme Court reaffirmed that Section 1962(c) liability

requires: “(1) a ‘person’; and (2) an ‘enterprise’ that is not simply the same ‘person’ referred to

by a different name.” Cedric Kushner Promotions, LTD. v. King, 533 U.S. 158, 161 (2001). The

Court narrowly held that the sole owner of a closely-held corporation could be a “person”

distinct from a corporate “enterprise” and was careful to distinguish the “significantly different”

circumstances where a “corporation was the ‘person’ and the corporation, together with all its

employees and agents, were the ‘enterprise.’” Id. at 164. See also U1it4less, Inc. v. Fedex

Corp., 871 F.3d 199, 208 (2d Cir. 2017).

        Plaintiff seeks to use Kushner for the broad proposition that separate legal incorporation


1
    Mr. Wynn hereby incorporates the arguments set forth in the Reply briefs of the other defendants.

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is sufficient to make a “person” and an “enterprise” distinct. This approach has been flatly

rejected by multiple courts of appeal, which have held, post-Kushner, that a corporate parent is

not typically a “person” distinct from a corporate subsidiary “enterprise.” See U1it4less, 871

F.3d at 207-08; Bucklew v. Hawkins, Ash, Baptie & Co., LLP., 329 F.3d 923, 934 (7th Cir.

2003); N. Cypress Med. Ctr. Operating Co. v. Cigna Healthcare, 781 F.3d 182, 203 (5th Cir.

2015). There is nothing beyond mere legal distinctiveness to analyze, because there are no

allegations in the FAC “showing that any [Wynn] entity operated outside of a unified corporate

structure guided by a single corporate consciousness.” U1it4less, 871 F.3d at 207.

         Of course, Wynn Resorts, associating with its employees—Mr. Wynn, Ms. Sinatra, and

Mr. Maddox—to operate Wynn MA, a wholly-owned subsidiary, cannot form an enterprise. See

Cruz v. FXDirectDealer, LLC, 720 F.3d 115, 121 (2d Cir. 2013) (“The requirement of

distinctness cannot be evaded by alleging that a corporation has violated the statute by

conducting an enterprise that consists of itself plus all or some of its officers or employees.”).

Plaintiff does not, for instance, describe the individual defendants “as a separate and distinct

group of individuals associated with it in furtherance of a common scheme, but rather as acting

for it in a traditional principal-agent relationship.” See Mear v. Sun Life Assur. Co. of Canada

(U.S.)/Keyport Life Ins. Co., No. 06-CV-12143-RWZ, 2008 WL 245217, at *9 (D. Mass. Jan. 24,

2008) (“Because Sun Life, a corporation, can only act through its employees, officers,

subsidiaries and agents, the former is not distinct from the latter for the purpose of distinguishing

a RICO person from a RICO enterprise . . . .”).

          II.     Lack of Vertical Relatedness – Count 22




2
   Count 1 is limited to predicate acts involving FBT Everett, whereas Count 2 includes predicate acts related to Mr.
Wynn’s alleged personal misconduct and activities in Macau. See FAC ¶¶ 152-63.

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         To the extent Plaintiff alleges the “enterprise” consists only of Wynn MA, there is yet

another fatal flaw. That is, unlike an “association in fact” enterprise comprised of the corporate

entities and individual defendants, many of the alleged predicate acts have nothing to do

with—and indeed pre-date the very existence of—Wynn MA.3 As the Second Circuit

explained:

         [A] complaint does not state a RICO claim merely by alleging racketeering activity
         and denominating a legal entity a “RICO enterprise.” A RICO violation requires a
         specific relationship between the enterprise and the pattern of racketeering: under
         § 1962(c), that the enterprise’s affairs be conducted “through” the pattern of
         racketeering. In other words, a plaintiff must also plausibly “allege that a nexus
         exist[s] between the enterprise and the racketeering activity that is being
         conducted.”

D. Penguin Bros. Ltd. v. City Nat. Bank, 587 F. App’x 663, 667 (2d Cir. 2014) (citations

omitted). With respect to Mr. Wynn, this lack of relationship between the “enterprise” and the

alleged “predicate acts” is most glaring as to allegations of personal misconduct in Nevada

dating back to 2005. Wynn MA wasn’t even organized until 2011, wasn’t registered as a

Massachusetts foreign corporation until 2013, see Exhibit A to Maynard Decl., and was “formed

for the purpose of applying for a Category 1 Gaming License in Massachusetts.” FAC ¶ 18.

Even assuming the truth of a “long-running pattern of specific violations of Nevada’s gaming

suitability laws,” Opp. at 51, these violations have nothing to do with an enterprise consisting

only of Wynn MA. Therefore, all Nevada misconduct allegations must be disregarded in

determining whether any predicate acts by Mr. Wynn have been properly pleaded. 4

         III.     Alleged Predicate Acts by Mr. Wynn


3
      Plaintiff’s pleading of predicate acts relating only to Wynn Resorts as conducted through a Wynn MA enterprise
is a failed attempt to plead around the distinctiveness problem set forth in Section I.
4
     The allegations regarding personal misconduct must also be disregarded in determining the longevity of Wynn
MA for purposes of the pattern analysis. For instance, in arguing that there was sufficient continuity to form a
“pattern,” Plaintiff states that the Count 2 enterprise was used for “predicate acts alleged to have occurred as early as
2005.” Opp. at 65. This cannot be, as Wynn MA did not exist in 2005.

                                                           3
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         It bears repeating that Plaintiff has pleaded two substantive RICO counts involving two

different enterprises. For each enterprise, Plaintiff must show that each defendant committed at

least two predicate racketeering acts.

         With respect to Count 1, the Opposition does not identify any specific predicate act

in which Mr. Wynn allegedly participated. Instead, the Opposition implies that Mr. Wynn is

responsible for all Count 1 predicate acts because he “did not delegate the pursuit of the” MGC

license but “played an active and [hands-on] role throughout the process.” Opp. at 52. The

allegation that Mr. Wynn was involved in the licensing process is not an allegation that he

engaged in any particular predicate act.5 The Opposition’s argument for a sort of Dotterweich or

“supervisory liability” for RICO predicate acts is unsupported by citation to any authority. It is

black-letter law that “plaintiff must give each defendant notice of the particular predicate act

it participated in and must allege each predicate act with specificity.” Ali v. Jawad, No. 16-CV-

00879, 2017 WL 1375197, at *2 (E.D. Cal. Apr. 17, 2017).6 See also Mem. at 13.

         For Count 2, the Opposition defends only four predicate acts specific to Mr. Wynn:

         First, the Opposition argues that Mr. Wynn’s “serial sexual predation toward Wynn

Resorts employees over a period of a decade constituted a long-running pattern of specific

violations of Nevada’s gaming suitability laws.” Opp. at 51. These are not RICO predicate acts

for the Wynn MA enterprise. See Section III, supra. They are neither vertically related to the


5
    The Opposition also claims that Mr. Wynn was responsible “for the overall contents and accuracy of the corporate
application on behalf of Wynn Resorts and Wynn MA.” Opp. at 52. Whether or not that statement is of any legal
consequence, it is not a fact alleged anywhere in the FAC, and therefore must be disregarded.
6 At best, the FAC alleges a single Count 1 predicate act with respect to Mr. Wynn—that when asked if he had
known that criminals were involved in FBT, he replied that he had not. FAC ¶ 100. But Plaintiff did not
plead that Mr. Wynn knew FBT had criminal owners, or how Mr. Wynn would have known FBT had criminal
owners. Mem. at 17. See also N. Am. Catholic Educ. Programming Found., Inc. v. Cardinale, 567 F.3d 8, 13 (1st
Cir. 2009) (“The courts have uniformly held inadequate a complaint’s general averment of the defendant’s
‘knowledge’ of material falsity, unless the complaint also sets forth specific facts that make it reasonable to believe
that defendant knew that a statement was materially false or misleading.”).


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“enterprise,” nor horizontally related to other predicate acts alleged in the FAC. See Mem. at 6.

         Second, the Opposition argues that Mr. Wynn’s statement at a December 2013 MGC

hearing that “Our history in Las Vegas has been exemplary, spotless in every regard” constitutes

a RICO predicate act. FAC ¶ 130(b); Opp. at 51. To the extent this statement is even capable of

being a “false, fictitious, or fraudulent statement” under Massachusetts law, Plaintiff has not

alleged that Wynn Resorts had been the subject of any enforcement actions when the statement

was made. What is more, Plaintiff actually altered Mr. Wynn’s words in an attempt to

insulate the FAC from Mr. Wynn’s Motion to Dismiss. Mr. Wynn did not say in December

2013 “Our history in Las Vegas has been exemplary, spotless in every regard,” as quoted in the

FAC to imply that Mr. Wynn was describing compliance in 2013. Rather, Mr. Wynn described

the process by which Wynn Resorts was “entering a new market in Macau” in the pre-2004 (or

perhaps pre-2002) timeframe,7 and the need to be found suitable by Macau regulators:

         Our history in Las Vegas had been exemplary, spotless in every regard. We had
         been in business in New Jersey. We had never received a negative vote in all of the
         years, wherever we were. We had nothing to prove and nothing to explain in terms
         of our past.

12/16/13 Suitability Hr’g Tr. at 29:8-13 (Exhibit B to Maynard Decl.).8 Again, even assuming

the truth of the allegations of misconduct dating back to 2005, Mr. Wynn was discussing a time

period prior to 2005. The FAC does not allege any misconduct in the pre-2005 time frame such

that Mr. Wynn’s statement recounting a pitch to Macau regulators could be false.9

         Third, the Opposition argues that Mr. Wynn’s statement at a December 2013 MGC



7
    The FAC alleges that Wynn Resorts’ subsidiary received a license from Macau in 2002. FAC ¶ 40.
8
    The Court can take judicial notice of the Hearing Transcript as a public record. See In re Vertex Pharms. Inc.,
Secs. Litig., 357 F. Supp. 2d 343, 352 n.4 (D. Mass. 2005).
9
    Plaintiff has made much of the IEB’s 199-page “Investigative Report Regarding Ongoing Suitability of Wynn
MA, LLC,” going so far as to attach it to the Opposition. It is notable that nowhere in the Report does the IEB
conclude that Mr. Wynn made a false statement to the MGC or the IEB.

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hearing that “we do everything that you can reasonably do to stop [criminality in Macau]”

constitutes a RICO predicate act. Plaintiff does not allege how this statement was false. There is

no allegation that Wynn Resorts did not do what was possible to stop criminal activity in Macau,

only that some criminal activity took place in Macau and that Wynn Macau maintained

relationships with certain junket operators. See FAC ¶¶ 125-27. Even if Mr. Wynn was aware

of criminal activity in Macau—which is not specifically alleged10—that does not mean Wynn

Macau was not taking reasonable steps to stop such activity or that Mr. Wynn knew Wynn

Macau was not taking reasonable steps to stop such activity.

         Fourth, the Opposition argues that the failure to disclose “Entity Y” constitutes a RICO

predicate act. This allegation fails because the FAC, through sleight of hand, does not actually

allege that Mr. Wynn “wholly owned” Entity Y, but only that Entity Y was wholly owned by

someone. See Mem. at 17. Notably, the Opposition also does not state that Mr. Wynn “wholly

owned” Entity Y, but simply argues that it was “highly plausible that he was the beneficial

owner.” (emphasis added).11 Beneficial ownership is not alleged in the FAC and, in any case, is

not the criteria for disclosure listed on the MGC’s form. See Exhibit C to Maynard Decl.

         IV.      But-For Causation

         Mr. Wynn’s briefing on but-for causation demonstrated that Count 1 is hopeless. All of

the salient facts allegedly concealed from the MGC were known to the MGC before it voted to

grant Wynn MA the license.12 See Mem. at 8-11. Plaintiff’s only attempt to dispute this is


10
    The allegation is simply that “Wynn Resorts and the individual Wynn Defendants at all times were aware of the
criminal activity occurring inside the Wynn Macau casino.” FAC ¶ 127. For the reasons stated in Mr. Wynn’s
Memo at 14, this type of “group pleading” as to knowledge can be disregarded.
11
    Presumably, this sleight of hand statement was an attempt to avoid a Rule 11 motion, given that there could be
no reasonable basis for Plaintiff to plead that Mr. Wynn himself “wholly owned” Entity Y LLC.
12
     To the extent it claims that Defendants “mischaracteriz[e] the allegations of the FAC” by failing to recognize
certain aspects of the alleged fraud, Plaintiff mischaracterizes Mr. Wynn’s arguments. Mr. Wynn’s memorandum
addressed the allegations at Paragraphs 110-120 of the FAC. See Memo at 10-11. In particular, the IEB Report

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relegated to a footnote, which claims that “[t]he key for proximate cause is the second phase of

the fraud, where the Wynn Defendants covered up their prior conspiracy with FBT . . . .” Opp.

at 23 n.11 (emphasis added). Plaintiff’s newfound theory—that there was a “second phase” of

the fraud, and only the “second phase” caused Plaintiff’s injury— is too little, too late. The

newfound theory is belied by the FAC, which states that “in July 2013, the Wynn Defendants

were known to the Gaming Commission to have associated with known felons and to have

failed to disclose those affiliations.” FAC ¶ 110 (emphasis added). Moreover, any attempt to

salvage Count 1 through the “second phase” theory hinges on adequately pleading Messrs.

Wynn’s and Maddox’s, and Ms. Sinatra’s pre-existing knowledge of criminality of the FBT

ownership group. Such knowledge has not been adequately pleaded, certainly not to the standard

set forth in N. Am. Catholic Educ. Programming Found., Inc. v. Cardinale, 567 F.3d 8, 13 (1st

Cir. 2009). See Mem. at 17; Maddox Mem. at 10-12; Sinatra Mem. at 12-23.

          V.     Proximate Cause

        Yet again Plaintiff glosses over the fact that Mohegan Sun, and not Plaintiff, was the

applicant competing with Wynn MA for a gaming license. Plaintiff was merely Mohegan Sun’s

potential landlord. There must have been many other Mohegan Sun business partners that

would have stood to gain “hard cash revenue,” Opp. at 46, had Mohegan Sun been granted the

license. That Plaintiff was a prospective landlord does not put it in any different position than

Mohegan Sun’s other business partners. The fact remains that the MGC was the primary entity

injured by the alleged scheme, Mohegan Sun was secondarily injured by the alleged scheme, and

Plaintiff was, at best, only a third-level “victim” among many other third-level “victims.” See



informed the Commission in December 2013 that “Charles Lightbody may have a legal reversionary interest in the
event Anthony Gattineri does not repay his promissory note obligations,” rendering the so-called “second phase”
allegations in Paragraph 117 moot.

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Empire Merchants, LLC v. Reliable Churchill LLP, 902 F.3d 132, 144 (2d Cir. 2018). (“The

Supreme Court has repeatedly affirmed that the availability of ‘a more immediate victim [that] is

better situated to sue’ cuts against finding proximate cause.”).

         VI.      Mail/Wire Fraud, Travel Act Violations, and RICO “Gambling”

         The RICO statute includes acts “involving . . . gambling” within the definition of

“racketeering acts.” Plaintiff fails to cite a single cases where the activities alleged here—

submitting paperwork and giving testimony to a state gaming authority— constitute RICO

“gambling.”13 Moreover, the assertion that cases cited by Defendants expand the scope of RICO

liability is unavailing. Those cases considered the nature of defendants’ activities—for instance

dogfighting—rather than analyzing the language of the statutes at issue. The inquiries focused

on whether defendants’ activities constituted “gambling” in the generic sense. Here, statements

to a state agency do not constitute “gambling”—even if the state agency regulates gaming.

         As to the Travel Act, a plain reading of the statute shows that the activity alleged must

involve “gambling . . . offenses.” Accordingly, in the cases cited by Plaintiff, Goldfarb and

DeLuna, the court found Travel Act violations where defendants were “conducting gambling

operations without the necessary licenses.” See United States v. DeLuna, 763 F.2d 897, 907

(8th Cir. 1985) (emphasis added); United States v. Goldfarb, 643 F.2d 422, 427 (6th Cir. 1981).

Here, by contrast, Defendants were not “conducting gambling operations.” Instead, Defendants

allegedly made false statements to obtain a license prior to conducting gambling operations. As

with RICO, the fact that the alleged acts involved statements in an application for a gaming



13
     The one case Plaintiff cites in an attempt to show that “gambling” should be read expansively involved a
telephone company passing through charges “associated with unlawful gambling.” See Kemp v. AT&T Co., 393
F.3d 1354, 1361 (11th Cir. 2004). There, the defendant included fees in its bills charged by a third-party company
that conducted a telephonic gambling game. While the defendant did not conduct the gambling operation, its
unlawful activity involved a third party’s active conduct of a gambling operation. No such gambling activity is
alleged here.

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license does not transform those acts into “gambling offenses.”

         Finally, as to mail fraud, Plaintiff is correct that the party deprived of “property” (i.e., the

“victim”) need not be the party who relied on the fraudulent misrepresentation. However, “even

the cases which have held that convictions may rest upon the deceit of a person other than the

ultimate victim contemplated that the deception was causally related to the scheme to obtain

property from the victim.” United States v. Berroa, 856 F.3d 141, 152 (1st Cir. 2017) (quoting

United States v. Frost, 125 F.3d 346, 360 (6th Cir. 1997)). The only possible “property” Plaintiff

could allege Defendants here schemed to obtain is (1) the gaming license from the MGC; and (2)

funding from potential gaming customers. The first, pursuant to Cleveland, is not “property” in

the hands of the entity from which it was obtained (i.e., Massachusetts), and the second fails due

to the proximate cause issues discussed in Berroa.14 As discussed supra, there is no proximate

connection between Defendants’ alleged deception of the MGC and Plaintiff’s loss. Even

assuming the Court could consider Wynn MA’s competitor Mohegan Sun—which is not the

RICO plaintiff— as the “victim” (despite the fact that Wynn MA did not obtain anything from

Mohegan Sun), it would not resolve the broader proximate cause issue. Plaintiff was not a

potential licensee and any harm Plaintiff suffered was one step removed from harm suffered by

Mohegan Sun. See generally Empire Merchants, 902 F.3d 132.

        VII.      State Law Claims Must Be Dismissed

         Rather than attempt to distinguish the Chapter 93A case relied on by Mr. Wynn, the facts


14
    Plaintiff argues Berroa would be analogous to the case at bar only if the government there had argued that other
physicians who did not receive licenses—not customers—were the “victims” of the mail fraud scheme. Opp. at 45.
However, Plaintiff’s position is not equivalent to doctors who did not receive licenses—it is equivalent to potential
landlords of physicians who did not receive licenses. The analogy does nothing to assuage the federalism concerns
expressed by the First Circuit. Just as state-issued licenses “invariably are sought and obtained in an effort to realize
some monetary profit,” Berroa, 956 F.3d at 150, they are often limited in number such that they are sought to the
exclusion of other applicants, with potential trickle-down effects on, for instance, the potential landlords of
unsuccessful applicants. Under Plaintiff’s theory, “virtually any false statement in an application [sought to the
exclusion of other applicants] could constitute a federal crime.” Id.

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of which are nearly identical to the one at bar, Plaintiff asserts that Mastoran is not good law

because it was issued prior to Stop & Shop Supermarket Co. v. Loomer. According to Plaintiff,

Loomer held that the “commercial transaction” requirement does not apply to unfair competition

claims. See Opp. at 71 n.75. That is false. Loomer simply stated in dicta that the case before it

did not involve unfair competition. See Loomer, 837 N.E.2d 712, 717-18 (Mass. App. Ct. 2005).

The plain language of Chapter 93A clearly requires that unfair competition claims arise from

conduct taking place in a “business context.” See, e.g., Santander Consumer USA Inc. v. Walsh,

762 F. Supp. 2d 217, 240 (D. Mass. 2010) (applying commercial transaction analysis to motion

to dismiss unfair competition claim). Of course, the commercial transaction need not be between

plaintiff and defendant, but still must exist somewhere (perhaps between defendant and

customers). Two entities seeking a license from a state agency does not create a commercial

transaction with the state agency. See Mem. at 19.

       Notably, the Opposition does not even attempt to counter Mr. Wynn’s arguments

regarding the claim for intentional interference with a contractual relationship, and focuses only

on the intentional interference with advantageous relations claim. While Plaintiff correctly notes

that “there is no technical requirement as to the kind of conduct that may result in interference,”

Opp. at 72 (emphasis added), Mr. Wynn’s argument is not focused on the “kind” of interference,

but on the fact that Mr. Wynn’s conduct was not directed at Mohegan. Plaintiff cites no

authority which disputes that principle that “conduct constituting tortious interference with

business relations is, by definition, conduct directed . . . at the party with which the plaintiff has

or seeks to have a relationship.” Carvel Corp. v. Noonan, 818 N.E.2d 1100, 1104 (N.Y. 2004).

The FAC does not allege—and the Opposition does not argue— that Mr. Wynn directed any

conduct at Mohegan, the party with which Plaintiff had a business relationship.



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                                                            Respectfully submitted,

                                                            STEPHEN A. WYNN

                                                            By his attorneys,

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Dated: April 19, 2019




                                CERTIFICATE OF SERVICE

        I hereby certify that on April 19, 2019 a copy of the forgoing was served electronically
on all counsel of record.


                                                            /s/ Joshua C. Sharp
                                                            Joshua C. Sharp




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